USCA4 Appeal: 07-4115   Doc: 48   Filed: 04/10/2007   Pg: 1 of 3




                                    Document 1



                                    Document 2
USCA4 Appeal: 07-4115           Doc: 48             Filed: 04/10/2007             Pg: 2 of 3


                                     UNITED STATES COURT OF APPEALS
                                                    FOR THE FOURTH CIRCUIT
                                          Lewis F. Powell, Jr. United States Courthouse Annex
                                                    1100 E. Main Street, Suite 501
                                                   Richmond, Virginia 23219-3517

    Patricia S. Connor                                  www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                (804) 916-2700




                                                  April 10, 2007



              LaVon D. Dobie
              SFF - Hazelton
              P. O. Box 3000
              Bruceton Mills, WV           26525


                         Re: 07-4115 US v. Dobie
                                    8:04-cr-00235-RWT


              Dear Ms. Dobie:

                   We acknowledge receipt of your motion of intent to present
              evidence of conviction more than 10 years old. Your motion was sent
              to your attorney who will act in your behalf. All future
              correspondence, including motions, should be sent directly to your
              attorney.



                                                                Yours truly,

                                                                PATRICIA S. CONNOR
                                                                      Clerk


                                                                  /s/ Sharon A. Wiley
                                                                By: ________________________
                                                                     Deputy Clerk



              Copies to:

              Peter Dennis Ward, Esq.
              LAW OFFICE OF PETER D. WARD
              Suite 105
              300 Allegheny Avenue
              Baltimore, MD 21204
USCA4 Appeal: 07-4115              Doc: 48               Filed: 04/10/2007              Pg: 3 of 3



                   MOTION OF INTENT TO PRESENT EVIDENCE OF CONVICTION
                                               MORE THAN 10 YEARS OLD
       h \IOO3.
              %b1t'~@360-03-t-                                           ,Pro s e




                             U n i t e d S t a t e s C i r c u i t C o u r, t 4th C i r c u i

       u.$.~ s . c - tb
       Plaintiff
                                                                                  P**37-04-G135                        1

                          VS.
                                                                                 )NOTICE OF INTENT TO OFFER
        L \ < ; , n -D.                    L
                                                                                 )EVIDENCE OF CRIMINAL CON-
      Defendant
                                                                                 )VICTION
                                                                                 ) F e d . R . E v i d . 609
      TO ALL PARTIES AND THEIR ATTORNEYS
      OF RECORD:
                The u n d e r s i g n e d , LR'\(cln%,?)&t                               E.          Pro s e g i v e s
      n o t i c e p u r s u a n t t o F e d e r a l R u l e o f E v i d e n c e 609 t h a t P l a i n t i f f
                                             63                     ~p+an+
                  r z u l ~I6 U.9 ,t . \ \ \ . \ \ ~ . ~ ~ y a ) l z ) e ) .Irnr t e n d s t o p r e s e n t a s e v i d e n c e
      C p ~ c&t    a 6%4F2d
             ~ ~).CUE ~ I O ~ . I O ? LdE. ~9 1F~A136-7; 343FLU5                              J   %b~C5(UrDI) C R 5 W ,253f 1 \ 3 1
                                                                                                                                   3d

      a t t h e o r a l a r g u e m e n t o f t h i s a c t i o n o r a t t h e h e a r i n g on t h e
       i s s u e of s a i d e v i d e n c e t h a t t h e C u r c u i t Court of                      hpyd
                                                                                                        4Y~i;t&~4,
       f o r a l l conduct n o t r e l e v a n t t o t h e i n s t a n t o f f e n s e .
                T h i s e v i d e n s e w i l l b e p r e s e n t e d by a n a u t h e n t i c a t e d c o p y of
       t h e judgement o f c o n v i c t i o n .

      Date:
                    ,- 3 -       o>                                                                                     .
                                                                                  Jrx>Yon             3,
                                                                                                       3 o b 1 ~
                                                                                Name of P e t i t i o n e r
